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Counsel for the Reorganized Debtor

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                               §
    In re:                                                     § Chapter 11
                                                               §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                       § Case No. 19-34054-sgj11
                                                               §
                                   Reorganized Debtor.         §

                                        NOTICE OF HEARING

             PLEASE TAKE NOTICE that the following matter is scheduled for hearing on Tuesday,

March 7, 2023, at 9:30 a.m. (Central Time) (the “Hearing”) in the above-captioned bankruptcy

case (the “Bankruptcy Case”):

             1.    Reorganized Debtor’s Motion for Entry of an Order Further Extending the Period
                   Within Which It May Remove Actions Pursuant to 28 U.S.C. § 1452 and Rule 9027
                   of the Federal Rules of Bankruptcy Procedure [Docket No. 3664] (the “Motion”).

1
  The last four digits of the Reorganized Debtor’s taxpayer identification number are 8357. The headquarters and
service address for the Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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       The Hearing on the Motion will be held via WebEx videoconference before The Honorable

Stacey G. C. Jernigan, United States Bankruptcy Judge. The WebEx video participation/attendance

link for the Hearing is: https://us-courts.webex.com/meet/jerniga.

       A copy of the WebEx Hearing Instructions for the Hearing is attached hereto as Exhibit A;

alternatively, the WebEx Hearing Instructions for the Hearing may be obtained from Judge

Jernigan’s hearing/calendar site at: https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-

jernigans-hearing-dates.

       Any response (each, a “Response”) to the relief requested in the Motion shall be filed with

the Clerk of the Court on or before Friday, March 3, 2023, at 5:00 p.m. (Central Time) (the

“Response Deadline”).

       The Reorganized Debtor may file a reply (each, a “Reply”) to any Response. Any Reply

shall be filed with the Clerk of the Court on or before Monday, March 6, 2023, at 5:00 p.m.

(Central Time).

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Dated: February 10, 2023.          PACHULSKI STANG ZIEHL & JONES LLP

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                                   -and-
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                               EXHIBIT A
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                               WebEx   Hearing Instructions
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                                     Judge Stacey G. Jernigan
Pursuant to General Order 2020-14 issued by the Court on May 20, 2020, all hearings before Judge Stacey
G. Jernigan are currently being conducted by WebEx videoconference unless ordered otherwise.

For WebEx Video Participation/Attendance:
Link:   https://us-courts.webex.com/meet/jerniga

For WebEx Telephonic Only Participation/Attendance:
Dial-In: 1.650.479.3207
Meeting ID: 479 393 582

Participation/Attendance Requirements:
•       Counsel and other parties in interest who plan to actively participate in the hearing are encouraged
        to attend the hearing in the WebEx video mode using the WebEx video link above. Counsel and
        other parties in interest who will not be seeking to introduce any evidence at the hearing and who
        wish to attend the hearing in a telephonic only mode may attend the hearing in the WebEx
        telephonic only mode using the WebEx dial-in and meeting ID above.
•       Attendees should join the WebEx hearing at least 10 minutes prior to the hearing start time. Please
        be advised that a hearing may already be in progress. During hearings, participants are required to
        keep their lines on mute at all times that they are not addressing the Court or otherwise actively
        participating in the hearing. The Court reserves the right to disconnect or place on permanent
        mute any attendee that causes any disruption to the proceedings. For general information and
        tips with respect to WebEx participation and attendance, please see Clerk’s Notice 20-04: https://
        www.txnb.uscourts.gov/sites/txnb/files/hearings/Webex%20Information%20and%20Tips_0.pdf
•       Witnesses are required to attend the hearing in the WebEx video mode and live testimony
        will only be accepted from witnesses who have the WebEx video function activated.
        Telephonic testimony without accompanying video will not be accepted by the Court.
•       All WebEx hearing attendees are required to comply with Judge Jernigan’s Telephonic
        and Videoconference Hearing Policy (included within Judge Jernigan’s Judge-Specific
        Guidelines): https://www.txnb.uscourts.gov/content/judge-stacey-g-c-jernigan

Exhibit Requirements:
       Any party intending to introduce documentary evidence at the hearing must file an exhibit list in
        the case with a true and correct copy of each designated exhibit filed as a separate, individual
        attachment thereto so that the Court and all participants have ready access to all designated exhibits.
       If the number of pages of such exhibits exceeds 100, then such party must also deliver two (2) sets
        of such exhibits in exhibit binders to the Court by no later than twenty-four (24) hours in advance
        of the hearing.

Notice of Hearing Content and Filing Requirements:
IMPORTANT: For all hearings that will be conducted by WebEx only:
•       The Notice of Hearing filed in the case and served on parties in interest must: (1) provide notice
        that the hearing will be conducted by WebEx videoconference only, (2) provide notice of the above
        WebEx video participation/attendance link, and (3) attach a copy of these WebEx Hearing
        Instructions or provide notice that they may be obtained from Judge Jernigan's hearing/calendar
        site: https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-jernigans-hearing-dates.
•       When electronically filing the Notice of Hearing via CM/ECF select “at https://us-
        courts.webex.com/meet/jerniga” as the location of the hearing (note: this option appears
        immediately after the first set of Wichita Falls locations). Do not select Judge Jernigan's Dallas
        courtroom as the location for the hearing.
